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                                                                                                 United States Bankruptcy Court
                                                                                                     Southern District of Texas

                                                                                                        ENTERED
                         IN THE UNITED STATES BANKRUPTCY COURT                                          May 01, 2023
                               SOUTHERN DISTRICT OF TEXAS                                            Nathan Ochsner, Clerk
                                    HOUSTON DIVISION

     In re:                                                 §
                                                            §              Case No. 23-30960 (jpn)
     Sourcewater, Inc. dba Sourcenergy,                     §
                                                            §                      Chapter 11
               Debtor.                                      §                     Subchapter V


                FINAL ORDER AUTHORIZING USE OF CASH COLLATERAL

                                            (Related to ECF No. 7)


          Before the Court is Debtor’s Motion1 and after considering Debtor’s Motion pursuant to

    §§ 105(a) and 331 of the Bankruptcy Code, requesting entry of an order authorizing the use of

    cash collateral. The Court finds that (i) it has jurisdiction to consider the Motion and the relief

    requested therein (ii) venue is proper before this Court; (iii) due and proper notice of the Motion

    was provided and no other or further notice need by provided; (iv) emergency relief is

    appropriate; and (v) relief requested in the Motion is in the best interests of the Debtor, its estate

    and creditors; and having reviewed the Motion, heard the statements and considered the evidence

    offered in support of the relief requested there, the Court determines that the legal and factual

    bases set forth in the Motion establish just cause for the relief granted herein. Accordingly,

          IT IS FOUND AND ORDERED that:

          1.       Jurisdiction and venue: This Court has core jurisdiction over the Bankruptcy

Case, the Motion, and the parties and property affected hereby pursuant to 28 U.S.C. §§ 157 and

1334 and the Amended Standing Order of Reference from the United States District Court for




1
    All defined terms utilized herein shall have the same meaning ascribed to them in the Motion filed at ECF No. 7
    unless defined here.

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the Southern District of Texas, dated May 24, 2012. Consideration of the Motion constitutes a

core proceeding as defined in 28 U.S.C. § 157(b)(2). The Court may enter a final order consistent

with Article III of the United States Constitution. Venue for the Bankruptcy Case and the

proceedings on the Motion is proper in this district pursuant to 28 U.S.C. §§ 1408 and 1409. The

predicates for the requested relief are sections 105, 361, 362, 363(c), 363(e), 363(m), and 507 of

the Bankruptcy Code, Bankruptcy Rules 2002, 4001, 6004, and 9014, and Bankruptcy Local

Rules 2002-1, 4001-1(b), 4002-1(i), and 9013-1.

        2.      Relief Necessary to Avoid Immediate and Irreparable Harm. The relief granted

herein is necessary to avoid immediate and irreparable harm to the Debtor and its Estate.

        3.      Cash Collateral Parties. The SBA, EDH, and Adler (“Cash Collateral Parties”)

all claim a security interest in the Debtor’s cash collateral.

        4.      Stipulations. In consideration for the relief granted in this Order, the Debtor,

Joshua Adler, and EDH stipulate as follows: The Debtor (a) acknowledges, (b) admits, (c) agrees,

and (d) stipulates that:

                a. EDH Loan, Security Agreements & Liens. EDH and the Debtor are parties to

                    a Senior Secured Credit Note dated December 22, 2021 in the face amount of

                    $500,000 and Security Agreement (“EDH Loan”). The present balance of the

                    EDH Loan is $529,152.61, which includes principal and interest. Interest

                    continues to accrue pursuant to this Order. Pursuant to the EDH Loan, the

                    Debtor granted a lien and security interest in, to and against all of the property

                    described in the EDH Loan, including, without limitation, accounts

                    receivable, deposit accounts, general intangibles, intellectual property, and all

                    proceeds and products thereof, including, without limitation, insurance



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                    proceeds and any cash held by the Debtor that constitutes Cash Collateral

                    (“EDH Prepetition Indebtedness”).

                b. Adler Loan, Security Agreements & Liens. Adler and the Debtor are parties

                    to a Revolving Credit Note dated December 2, 2020 (“Adler Loan”). The

                    total amount advanced under the Revolving Credit Note is $1,089,014.05,

                    including principal and interest. Interest continues to accrue at the contractual

                    rate. In connection with the EDH Loan, EDH and Joshua Adler executed a

                    Subordination and Intercreditor Agreement, which subordinates the Adler

                    Loan to the EDH Loan.

        5.      Lien Priority Reservation of Rights. The Cash Collateral Parties reserve all rights

relating to the priority of their respective liens.

        6.      In accordance with the terms of the EDH Loan, all amounts payable thereunder

are now fully due and payable by Debtor. The Debtor is indebted and liable to EDH for such

amounts without defense, counterclaim, or offset of any kind. As of March 17, 2023, the Debtor

was indebted and liable to EDH without defense, counterclaim, or offset of any kind in the

aggregate principal and interest amount of not less than $529,152.61 under the EDH Loan. The

EDH Loan is valid, binding, and subject to applicable bankruptcy law, enforceable against the

Debtor and the bankruptcy estate with its terms.

        7.      Validity, Perfection, and Priority of the Prepetition Liens. Pursuant to the EDH

Loan, the EDH Prepetition Indebtedness is secured by valid, binding, perfected, enforceable,

liens and security interests in, to and against the prepetition collateral. The Debtor will not pursue

a challenge or seek to avoid the validity, enforceability, priority, or perfection of the EDH Loan.

        8.      Default by Debtor. The Debtor acknowledges and stipulates that the Debtor is in



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default of its debts and obligations under the EDH Loan.

         9.    Release. Without limiting the foregoing, and without prejudice to the rights of

any other party (but subject to the limitations described in this Order), the Debtor, on behalf of

itself and on behalf of the bankruptcy estate, including any trustee appointed under chapter 7 or

11 of the Bankruptcy Code, releases any claims against EDH under chapter 5 of the Bankruptcy

Code or under any other similar provisions of applicable state or federal law.

         10.   Carve-Out. As used in this Final Order, the “Carve-Out” means the sum of (i)

any fees required to be paid to the Clerk of the Court under section 1930(a) of title 28 of the

United States Code, if any; (ii) all reasonable fees and expenses incurred by a trustee under

section 726(b) (a chapter 7 trustee) of the Bankruptcy Code up to $5,000, if any; (iii) to the extent

allowed at any time, whether by interim order, procedural order, or otherwise, all unpaid fees and

expenses (“Allowed Professional Fees”) incurred by persons or firms retained by the Debtor

pursuant to section 327, 328, or 363 of the Bankruptcy Code (“Debtor Professionals”) and the

subchapter V trustee (“Sub V Trustee” and, together with the Debtor Professionals,

“Professional Persons”).

         11.   The Cash Collateral Parties have consented to the Debtor’s use of cash collateral

pursuant to the terms and conditions set forth in this order, including the budget attached to this

Order.

         12.   The Debtor stipulates and the Court finds that EDH has acted in good faith

regarding the negotiation of the continued use of cash collateral to fund the administration of the

Debtor’s estate and continued operation of its business.

         13.   The Debtor is authorized to use cash collateral in accordance with the provisions

in the projected budget (“Budget”), attached as Exhibit A, on a final basis. The Debtor is



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authorized a 10% variance within the Budget (both by line item and with respect to aggregate

receipts and aggregate distributions) without further order of this Court. The Budget reflects,

among other things, the Debtor’s anticipated operating receipts, anticipated operating

disbursements, anticipated non-operating disbursements, net operating cash flow and liquidity.

The Budget may be modified by filing a Notice of Budget Modification, and shall allow parties

in interest three days to object and request an emergency hearing with this Court regarding the

Budget modification.

       14.     The Debtor’s acknowledgements, stipulations, and releases set forth in this Order

shall be binding on the Debtor, the Debtor’s estate, and its respective representatives, successors

and assigns in all circumstances. The stipulations contained in this Order shall be binding upon

all other parties in interest and all of their respective successors and assigns, including the

Subchapter V Trustee, any chapter 7 or any chapter 11 trustee (“Trustee”), and any other person

or entity acting or seeking to act on behalf of the Debtor’s estate in all circumstances and for all

purposes, unless (a) a party in interest (including any Trustee or the Subchapter V Trustee), in

each case, with requisite standing (in each case to the extent requisite standing is obtained

pursuant to an order of this Court entered prior to the end of the Challenge Period (defined below)

and subject in all respects to any agreement or applicable law that may limit or affect such entity’s

right to commence such proceeding), has duly and timely filed an adversary proceeding or

contested matter (each, a “Challenge”) challenging the validity, perfection, enforceability,

allowability, priority or extent of the obligations in respect of the EDH Loan or otherwise

asserting or prosecuting any avoidance actions or any other claims, counterclaims or causes of

action, objections, contests or defenses against EDH in connection with any matter related to the

EDH Loan (collectively, “Claims and Defenses”) by no later than the earlier of (w) the



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commencement of a hearing to consider confirmation of a chapter 11 plan and (x) ninety (90)

days after the Petition Date (“Challenge Period”), as such applicable date may be extended by

this Court for good cause shown pursuant to an application filed by such party in interest and

decided by this Court prior to the expiration of the Challenge Period, provided that if the

Bankruptcy Case is converted to chapter 7 or a Trustee is appointed or elected prior to the

expiration of the Challenge Period, any such estate representative or trustee shall receive the full

benefit of any remaining time before expiration of the Challenge Period, which shall be extended

for a period of sixty (60) calendar days, and (b) there is entered a final, non-appealable order in

favor of the plaintiff in any such timely Challenge.

       15.     If no Challenge is timely and properly filed prior to the expiration of the Challenge

Period or the Court does not rule in favor of the plaintiff in any such proceeding, then without

further order of this Court (x) the obligations in respect of the EDH Loan shall constitute allowed

claims, not subject to any Claims and Defenses (whether characterized as a counterclaim, setoff,

subordination, recharacterization, defense, avoidance, contest, attack, objection, recoupment,

reclassification, reduction, disallowance, recovery, disgorgement, attachment, “claim” (as

defined by Bankruptcy Code section 101(5)), impairment, subordination (whether equitable,

contractual or otherwise), or other challenge of any kind pursuant to the Bankruptcy Code or

applicable nonbankruptcy law), for all purposes in the Bankruptcy Case and any subsequent

chapter 7 case; (y) the EDH Loan shall not be subject to any other or further Challenge, including,

without limitation, any Claims and Defenses, which shall be deemed to be forever waived and

barred, and all parties in interest shall be enjoined from seeking to exercise the rights of the

Debtor’s estate, including any successor (including any estate representative or a Trustee,

whether such Trustee is appointed or elected prior to or following the expiration of the Challenge



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Period); and (z) the stipulations shall be of full force and effect and forever binding upon the

Debtor’s Estate and all creditors, interest holders, and other parties in interest, including the Sub

V Trustee, in the Bankruptcy Case and any successor cases.

         16.      Milestones. The Debtor shall abide by the following case milestones

(“Milestones”):

                  a. The Debtor shall propose a plan by June 15, 2023, with an effective date of

                     July 22, 2023 (subject to Court availability) (as originally proposed and as

                     subsequently amended or proposed, “Plan”). The Plan will contain the

                     following provisions:

                         i. If the Plan proposes the sale of the Debtor’s intellectual property,

                            including but not limited to the patents listed in the Debtor’s Schedule

                            A/B (“Intellectual Property”),2 the sale shall be through public

                            auction conducted no more than 90 days from the effective date of the

                            Plan and shall allow credit bidding.

                         ii. If the Plan proposes to pursue litigation related to the Debtor’s

                            Intellectual Property, the Plan must provide for the following: (a) the

                            litigation shall be pursued within a reasonable period-of-time as

                            disclosed in the Plan and (b) if litigation is not pursued within a

                            reasonable period of time or is otherwise extinguished in a way that

                            does not pay off EDH in full, EDH shall have the right to pursue its

                            remedies under state law, including but not limited to the foreclose of

                            liens and/or security interests. The Debtor will propose in its Plan a


2
    ECF No. 36.


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                           time by which the first lawsuit will be filed. If EDH disagrees that the

                           proposed timeframe is reasonable and the Debtor and EDH are not able

                           to agree on the reasonableness of the time-period, the dispute will be

                           decided in connection with confirmation of the Plan.

                      iii. The applicable Milestones and remedies provided for in this Order

                           shall be incorporated in the Plan and continue after the effective date

                           of the Plan.

               b. If the Plan proposes to pursue litigation related to the Intellectual Property, the

                   Debtor shall file an application to retain contingency counsel to pursue certain

                   litigation related to the Intellectual Property, or otherwise have a binding

                   agreement for the retention of contingency counsel to pursue such litigation,

                   by no later than August 15, 2023.

       17.     Remedies for Failure to Meet Milestones. Upon the failure of Debtor to meet the

Milestones prior to the effective date of a Plan, the Debtor’s authority to use cash collateral shall

terminate immediately absent agreement of the Cash Collateral Parties or further order of the

Court. Upon the Debtor’s failure to meet the applicable Milestones after the occurrence of the

effective date, the Cash Collateral Parties, shall have the right to pursue their remedies under

state law, including but not limited to the foreclose of liens and/or security interests.

       18.     Adequate Protection. As adequate protection for the use of cash collateral, the

SBA, EDH and Joshua Adler are each granted replacement liens (“Replacement Liens”) on all

post-petition cash collateral and post-petition acquired property to the same extent and priority

they possessed as of the Petition Date pursuant to sections 361, 362, 363(e) and 364(d)(1). As

EDH’s additional adequate protection, EDH’s indebtedness will incur interest at a rate of $5,000



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per month, which shall not compound. The Debtor will incorporate this interest payment into its

plan, and EDH will not be entitled to any other fees, expenses or interest aside from this interest

accrual. The interest will accrue, but will not be due and payable until either: (1) the Debtor’s

assets are liquidated; or (2) there are sufficient litigation proceeds to pay EDH.

       19.      The Debtor is authorized to take all actions necessary to effectuate the relief

granted in this Order in accordance with the Motion.

       20.     This Court retains jurisdiction with respect to all matters arising from or related

to the implementation of this order.




                     May 01,04,
                      April  2023
                                2018
                                                JEFFREY P. NORMAN,
                                                UNITED STATES BANKRUPTCY JUDGE




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                                    Exhibit A
                                    BUDGET


      INCOME                     April 18‐30    May 1‐17       May 18‐31
                                  Budget           Budget         Budget

      Opening Cash                  1,361.81        9,210.69       7,270.58

      Cash Receipts                18,394.95        5,927.02      10,993.18
      Employee Payroll              3,952.60        4,234.15       4,234.15
      BCBS TX                       2,652.17             ‐         2,652.17
      Guardian Healthcare                 ‐           393.96
      Contract Services 1099              ‐           222.26
      Office rent                      30.30           30.00            ‐
      Bankcard
      Quickbooks                       90.61             ‐            90.61
      Meals & Travel
      Utilities (incls phone)         160.84             ‐           160.84
      Bank service charges             35.00             ‐            25.00


      Accounting                    1,500.00             ‐         1,500.00
      Legal                                         2,000.00       6,900.00
      Insurance                                       986.76
      Online Software               1,124.55             ‐         1,124.55
      Subchapter V Trustee          1,000.00             ‐         1,000.00



      Total Cash Disbursements     10,546.07        7,867.13      17,687.32
      Cash on hand after
      disbursements                 9,210.69        7,270.58         576.44
